AO 106 (Rev. Case
             04/10) Application for a Search Warrant
                     2:19-mj-11512-RBM                   Document 1 Filed 11/22/19 PageID.1 Page 1 of 13

                                     UNITED STATES DISTRICT COURT                                                       FILED
                                                                    for the                                             NOV 2 2 2019
                                                  Southern District of California
                                                                                                              CLERK, U.S. DISTRIC C U T
                                                                                                            SOUTHERN DISTRICT OF A F
             In the Matter of the Search of                            )                                    BY
         (Briefly describe the property to be searched                 )
          or identify the person by name and address)                  )
                                                                       )
                                                                                   Case No.1   9 M J1 1 5 1 2
             (2) One UMX U683CL cellphone
            MEID (dee): 256691944800033089                             )
              MEID (hex): 99001518008141                               )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A-2, incorporated herein by reference.
located in the - - -Southern
                     - - - - ~ District of                  -----------~
                                                                           California           , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated herein by referenc~


          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                ~ evidence of a crime;
                0 contraband, fruits of crime, or other items illegally possessed;
                ~ property designed for use, intended for use, or used in committing a crime;
                0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                         Offense Description
        21 USC 841, 846, 952, 960,                Possession with intent to distribute controlled substance; Importation of a
        963                                       Controlled Substance; Conspiracy to commit same

          The application is based on these facts:
        See attached Affidavit of Special Agent Robert Robbins, HSI

          ~ Continued on the attached sheet.
          0 Delayed notice of        days (give exact ending date if more than 30 days: - - - - ~ ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the a t 7 t .



                                                                                               Applicant's signature

                                                                                        Special Agent Robert Robbins, HSI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: _E_I_C_e_n_tr_o_,_C_A_ _ _ _ _ _ __                          Hon. Ruth Bermudez Montenegro, US Magistrate Judge
                                                                                               Printed name and title
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11/22/19
                                                                                              FILED
                                                                                              NOV 2 2 2019
                                  UNITED STATES DISTRICT COURT
                                                                                       CLERK, U.S. OISTRIC
                                SOUTHERN DISTRICT OF CALIFORNI                    SOUTHERN DISTRICT OF
                                                                                  BY

           IN THE MATTER OF THE SEARCH OF                          Case No.:    19 MJ1 1 5 1 2
             (1)        One Sprint Cool Pad Cellphone             AFFIDAVIT OF SPECIAL
                        MEID (dee): 256691598904429635            AGENT ROBERT ROBBINS IN
                        MEID (hex): 99000795439743                SUPPORT OF SEARCH
                        SIN: 331 SD 196T0000901                   WARRANT

             (2)        One UMX U683CL cellphone
                        MEID (dee): 256691944800033089
                        MEID (hex): 99001518008141
                        S/N:683CL00819058142

                                                  AFFIDAVIT
                   I, Robert Robbins, Special Agent with Homeland Security Investigations
       ("HSI''), having been duly sworn, hereby state as follows:

                                              INTRODUCTION
                   1.      I make this affidavit in support of an application for a search warrant in
       furtherance of a narcotics trafficking investigation conducted by HSI for the
       following target property seized during the arrest of Abraham LIZARRAGA on and
       about October 27, 2019:
            ( 1)        One Sprint Cool Pad Cellphone
                        MEID (dee): 256691598904429635
                        MEID (hex): 99000795439743
                        SIN: 331SD196T0000901
                        ("Target Telephone # l ")

            (3)         One UMX U683CL cellphone
                        MEID (dee): 256691944800033089
                        MEID (hex): 99001518008141
                        S/N:683CL00819058142
                        ("Target Telephone #2")
                        (collectively, the "Target Telephones")
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       2.     The Target Telephones were seized from LIZARRAGA incident to his
October 27, 2019 arrest for importation of a controlled substance. Specifically, CBP
officers located Target Telephone #1 in the door of LIZARRAGA's vehicle and
Target Telephone #2 inside a bag on LIZARRAGA's person. It is believed that the
Target Telephones were used by LIZARRAGA to communicate with co-
conspirators during drug trafficking activities leading up to his arrest. Probable
cause exists to believe that the Target Telephones contain evidence relating to
violations of Title 21, United States Code, Sections 841, 846, 952, 959, 960, and
963. The Target Telephones are currently in the possession of Homeland Security
Investigations evidence vault located at 2051 North Waterman Avenue, El Centro,
CA 92243. Because this affidavit is submitted for the limited purpose of establishing
probable cause in support of the application for a search warrant, it does not set forth
each and every fact that I or others have learned during the course of this
investigation.
       3.     Based upon my experience and training, and all the facts and opinions
set forth in this affidavit, I submit this affidavit in support of the application to search
the Target Telephones for, and to seize, as they pertain to violations of Title 21,
United States Code, Sections 841, 846, 952, 960, and 963, Distribution and
Importation of Controlled Substances and Conspiracy, all communications, records,
or data including but not limited to emails, text messages, photographs, audio files,
videos, or location data:

      a.     tending to indicate efforts to deliver controlled substances from
             Mexico to the United States, or to traffic, sell or distribute controlled
             substances in the United States;

      b.     tending to identify other facilities, storage devices, or services - such
             as e-mail addresses, IP addresses, phone numbers - that may contain
             electronic evidence regarding efforts to deliver controlled substances
             from Mexico to the United States, or to traffic, sell or distribute
             controlled substances in the United States;

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      c.     tending to identify co-conspirators, criminal associates, or others
             involved in efforts to deliver controlled substances from Mexico to the
             United States, or to traffic, sell or distribute controlled substances in
             the United States;

      d.     tending to identify travel to or presence at locations involved in efforts
             to deliver controlled substances from Mexico to the United States, or
             to traffic, sell or distribute controlled substances in the United States;

      e.     tending to identify the user of, or persons with control over or access
             to, the subject phone; or

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records,
             or data above.

                         EXPERIENCE AND TRAINING
      4.     I am a law enforcement officer of the United States within the meaning of
Title 18, United States Code, Section 2510(7), who is empowered by law to conduct
investigations of, and to make arrests for, offenses enumerated in Title 18, United States
Code, Section 2516. I am a Special Agent with the United States Department of
Homeland Security, Immigration and Customs Enforcement ("ICE"), Homeland
Security Investigations ("HSI").     I am also cross-designated to conduct Title 21
investigations and am currently assigned to the Imperial Valley Border Enforcement
Security Task Force. I have been involved with investigations for Title 21 offenses. I
am also a federal law enforcement officer within the meaning of Rule 41(a)(2)(C) of
the Federal rules of Criminal Procedure. I am authorized under Rule 41 (a) to make
applications for search and seizure warrants and to serve arrest warrants.          I am
authorized to investigate violations oflaws of the United States and to execute warrants
issued under the authority of the United States.
      5.     I have been employed as a Special Agent with HSI since July 2011. My
training includes attending the Federal Law Enforcement Training Center, where I
completed 19 weeks of HSI Special Agent Training. Through my training and

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expenence, I have gained extensive knowledge in detecting elements of criminal
activity as it relates to narcotics/currency smuggling, trade fraud, and money
laundering. I have made numerous arrests and have conducted and assisted in
investigations of such crimes related to, narcotics, money laundering, and customs fraud
using a variety of investigative techniques. As a result of my training and experience
as a Special Agent, I am familiar with federal criminal statutes to include violations of
Title 18, 21 and 8 of the United States Code. As a Special Agent with HSI, my primary
duties include the investigation of narcotics-related violations of Title 21 of the United
States Code. I have participated in and conducted investigations of violations of various
Federal criminal laws, including distribution of controlled substances, use of
communication facilities to commit narcotic offenses, importation of controlled
substances, conspiracy to import, possess and distribute controlled substances, and
money laundering, all in violation of Title 21 and Title 18, United States Code and
various California Health and Safety Code and California Penal Code sections. These
investigations resulted in arrests of individuals who have imported, smuggled, received
and distributed controlled substances. Also, these investigations resulted in seizures of
property, assets, and controlled substances. Through these investigations and training,
I am familiar with the operations of illegal international Drug Trafficking Organizations
(DTO) in in the United States and abroad.
       6.      Based on my experience and training, I am familiar with the methods
utilized in narcotics-trafficking operations and the trafficking patterns employed by
narcotics organizations. I have also spoken with agents, as well as other law
enforcement officers, about their experiences and the results of their investigations
and interviews.     I have become knowledgeable of the methods and modes of
narcotics operations and the language and patterns of narcotics abuse and trafficking.
I have become familiar with the methods of operation typically used. by narcotics
traffickers.


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      7.     I have received formal training, as well as on-the-job experience and
training, relative to the investigation of the importation, transportation, sales,
manufacturing, and distribution of controlled substances. I have also participated in
investigations that involved the use of electronic surveillance techniques. I have
investigated illicit narcotic and controlled substances that have resulted in the arrests
and indictments of others. I have also trained in the execution of search warrants for
residences and vehicles, as well as participated in the execution of arrest warrants. I
have also participated in investigations in which drug traffickers also relied heavily
upon electronic communication facilities and other electronic devices as means of
communicating. I have interviewed individuals who have been directly and
indirectly   involved    in   the   importation,   transportation,     distribution,   and
manufacturing of illegal drugs, controlled substances.
      8.     Based on my training and experience, I have become familiar with the
methods utilized in narcotics trafficking operations and the unique trafficking
patterns employed by narcotics organizations. I have also spoken with senior agents
as well as other senior law enforcement officers, about their experiences and the
results of their investigations and interviews. I know that drug traffickers often
require the use of a communication facility to negotiate times, places, schemes and
manners for importing, possessing, concealing, manufacturing and distributing
controlled substances and for arranging the disposition of proceeds from the sales of
controlled substances.    I know that professional drug operations depend upon
maintaining their extensive contacts. The communication facility enables drug
dealers to maintain contact with drug associates, drug suppliers and drug customers.
I also know that drug traffickers sometimes use fraudulent information, such as
nominee names and false addresses, to subscribe to communication facilities,
especially   emails,    cellular phones,    messaging apps       and     frequently    use



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communication facilities to thwart law enforcement efforts to intercept their
communications.
      9.     In preparing this affidavit, I have conferred with other agents and law
enforcement personnel who are experienced in the area of narcotics investigations,
and the opinions stated below are shared by them.            Further, I have personal
knowledge of the following facts, or have had them related to me by persons
mentioned in this affidavit.    I have included in parentheses or in brackets my
explanations of coded or veiled speech, based on my training and experience, as well
as my familiarity with the facts of this investigation. Dates and times are
approximate.
      10.    Based upon my training and experience, and consultations with law
enforcement officers experienced in narcotics smuggling investigations, and all the
facts and opinions set forth in this affidavit, I submit the following:

      a.     Drug traffickers and their co-conspirators will use cellular telephones
             because they are mobile and they have instant access to telephone calls,
             text, web, and voice messages.

      b.     Drug traffickers and their co-conspirators will use cellular telephones
             because they are able to actively monitor the progress of their illegal
             cargo while the conveyance is in transit.

      c.     Drug traffickers and their co-conspirators and their accomplices will
             use cellular telephones because they can easily arrange and/or
             determine what time their illegal cargo will arrive at predetermined
             locations.

      d.     Drug traffickers and their co-conspirators will use cellular telephones
             to direct drivers to synchronize an exact drop off and/or pick up time of
             their illegal cargo.

      e.     Drug traffickers and their co-conspirators will use cellular telephones
             to notify or warn their accomplices of law enforcement activity to


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            include the presence and posture of marked and unmarked units, as well
            as the operational status of checkpoints and border crossings.

      £     Drug traffickers and their co-conspirators often use cellular telephones
            to communicate with load drivers who transport their narcotics and/or
            drug proceeds.
                 FACTS SUPPORTING PROBABLE CAUSE
      A.    THE ARREST OF ABRAHAM LIZARRAGA
      11.   On October 27, 2019, Abraham LIZARRAGA entered the United
States at the Calexico, California West Port of Entry. LIZARRAGA was the driver
and sole occupant of a 2016 Ford F-150. LIZARRAGA was sent to secondary
inspection where Customs and Border Protection officers discovered 100 packages
concealed within the spare tire and gas tank of the vehicle. The packages weighed
approximately 49.38 kilograms and field-tested positive for the characteristics of
methamphetamine. LIZARRAGA was arrested and the Target Telephones were
seized by CBP.
      12.   Post-arrest, LIZARRAGA invoked his Miranda rights.
      13.   A query of border crossing records reveals that LIZARRAGA crossed
13 times from Mexico into the United States, starting on May 28, 2019 through
October 27, 2019.
      14.   Based on my training and experience, I know that it is common for drug
traffickers to plan a smuggling venture months in advance of the first attempted
crossing. Based on the crossing records and my training and experience, I am
requesting that the search warrant cover from March 1, 2019 through November
1, 2019. This time period is requested to capture any evidence of recruitment and
planning would have taken place prior to LIZARRAGA' s first crossing into the
United States from Mexico on May 28, 2019, as well as evidence related to any prior
crossings. The period after the arrest is requested to capture any attempts by co-
conspirators, who would be unaware ofLIZARRAGA's arrest, to contact them.


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       15.   Based upon my experience and training, consultation with other law
enforcement officers experienced in narcotics trafficking investigations, and all the
facts and opinions set forth in this affidavit, I believe that information relevant to the
narcotics trafficking activities of LIZARRAGA and co-conspirators, such as
telephone numbers, made and received calls, contact names, electronic mail (email)
addresses, appointment dates, messages, pictures and other digital information are
stored in the memory of the cellular telephones described herein.
                                 METHODOLOGY
      16.    It is not possible to determine, merely by knowing the cellular
telephone's make, model and serial number, the nature and types of services to which
the device is subscribed and the nature of the data stored on the device. Cellular
devices today can be simple cellular telephones and text message devices, can
include cameras, can serve as personal digital assistants and have functions such as
calendars and full address books and can be mini-computers allowing for electronic
mail services, web services and rudimentary word processing.              An increasing
number of cellular service providers now allow for their subscribers to access their
device over the internet and remotely destroy all of the data contained on the device.
For that reason, the device may only be powered in a secure environment or, if
possible, started in '"flight mode" which disables access to the network. Unlike
typical computers, many cellular telephones do not have hard drives or hard drive
equivalents and store information in volatile memory within the device or in memory
cards inserted into the device. Current technology provides some solutions for
acquiring some of the data stored in some cellular telephone models using forensic
hardware and software. Even if some of the stored information on the device may
be acquired forensically, not all of the data subject to seizure may be so acquired.
For devices that are not subject to forensic data acquisition or that have potentially
relevant data stored that is not subject to such acquisition, the examiner must inspect


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the device manually and record the process and the results using digital photography.
This process is time and labor intensive and may take weeks or longer.
      17.      Following the issuance of this warrant, I will collect the Target
Telephone and subject it to analysis. All forensic analysis of the data contained
within the telephone and its memory cards will employ search protocols directed
exclusively to the identification and extraction of data within the scope of this
warrant.
      18.      Based on the foregoing, identifying and extracting data subject to
seizure pursuant to this warrant may require a range of data analysis techniques,
including manual review, and, consequently, may take weeks or months.                 The
personnel conducting the identification and extraction of data will complete the
analysis within ninety (90) days, absent further application to this court.
                                    CONCLUSION
      19.      Based on all of the facts and circumstances described above, I believe
that probable cause exists to conclude that LIZARRAGA used the Target
Telephones to facilitate the offenses of distributing and importing controlled
substances. The Target Telephones were likely used to facilitate the offenses by
transmitting    and    storing   data,   which    constitutes   evidence,   fruits,   and
instrumentalities of violations of Title 21, United States Code, Sections 841, 846,
952, 960, and 963.
      20.      I also believe that probable cause exists to believe that evidence, fruits
and instrumentalities of illegal activity committed by LIZARRAGA and others
continues to exist on the Target Telephones.
      21.      Based upon my experience and training, consultation with other agents
in narcotics investigations, consultation with other sources of information, and the
facts set forth herein, I know that the items to be seized set forth above in Paragraph
3 are likely to be found in the property to be searched described above in Paragraph


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1. Therefore, I respectfully request that the Court issue a warrant authorizing me, a
Special Agent with HSI, or another law enforcement employee specially trained in
digital evidence recovery, to search the items described in Attachment A-1 (Target
Telephone# 1) and Attachment A-2 (Target Telephone #2), and seize the items listed
in Attachment B.


I swear the foregoing is true and correct to the best of my knowledge and belief.


                                                1lz&
                                       Robert Robbins
                                       Special Agent
                                       Homeland Security Investigations

Subscribed and sworn to before me this    #~day ofNovember, 2019.


  $~
H~norable ~dezontenegro
United States Magistrate Judge




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                               ATTACHMENT A-2

                         PROPERTY TO BE SEARCHED

The property to be searched in connection with an investigation of violations of Title
21, United States Code Sections 841, 846, 952, 960, and 963 is described below:

   (2)   One UMX U683CL cellphone
         MEID (dee): 256691944800033089
         MEID (hex): 99001518008141
         S/N:683CL00819058142

Currently in the possession of Homeland Security Investigations evidence vault
located at 2051 North Waterman Avenue, El Centro, CA 92243




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                               ATTACHMENT B
                             ITEMS TO BE SEIZED

Authorization to search the cellular telephone includes the search of disks, memory
cards, deleted data, remnant data, slack space, and temporary or permanent files
contained on or in the cellular telephone. The seizure and search of the cellular
telephone will be conducted in accordance with the affidavit submitted in support of
the warrant.

The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, photographs, audio files,
videos, and location data, for the period of March 1, 2019 through November 1,
2019:

      g.    tending to indicate efforts to deliver controlled substances from
            Mexico to the United States, or to traffic, sell or distribute controlled
            substances in the United States;

      h.    tending to identify other facilities, storage devices, or services - such
            as e-mail addresses, IP addresses, phone numbers - that may contain
            electronic evidence regarding efforts to deliver controlled substances
            from Mexico to the United States, or to traffic, sell or distribute
            controlled substances in the United States;

      1.    tending to identify co-conspirators, criminal associates, or others
            involved in efforts to deliver controlled substances from Mexico to the
            United States, or to traffic, sell or distribute controlled substances in
            the United States;

      J.    tending to identify travel to or presence at locations involved in efforts
            to deliver controlled substances from Mexico to the United States, or
            to traffic, sell or distribute controlled substances in the United States;

      k.    tending to identify the user of, or persons with control over or access
            to, the subject phone; or

      1.    tending to place in context, identify the creator or recipient of, or
            establish the time of creation or receipt of communications, records,
            or data above.

which are evidence of violations of Title 21, United States Code, Sections 841,
846,952,960, and 963.

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